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 1   BENJAMIN B. WAGNER
     United States Attorney
 2   KYLE REARDON
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2700
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 6
 7
 8               IN THE UNITED STATES DISTRICT COURT FOR THE
 9                      EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,         ) CR. S-09-00054 WBS
12                                     )
                Plaintiff,             )
13                                     ) STIPULATION AND [PROPOSED]
           v.                          ) ORDER CONTINUING STATUS
14                                     ) CONFERENCE
     HOLLY HAWORTH,                    )
15                                     ) Time: 8:30 am
                 Defendants.           ) Date: Monday, October 26, 2009
16                                     ) Court: Hon. William B. Shubb

17
           Defendant Holly Haworth, by and through her attorney, and
18
     the government, by and through the undersigned Assistant United
19
     States Attorney request that the Judgment and Sentencing
20
     currently set for Monday, November 16, 2009, at 8:30 a.m., be
21
     continued to Monday, December 7, 2009, at 8:30 a.m.
22
           Defense Counsel has had a family emergency that will prevent
23
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          Case 2:09-cr-00054-WBS Document 103 Filed 11/13/09 Page 2 of 2


 1   her from appearing on November 16, 2009.       She is available the
 2   following week; however, government counsel is not available
 3   until December 7, 2009.
 4                                          Respectfully Submitted,
 5                                          BENJAMIN B. WAGNER
 6                                          United States Attorney

 7
 8   DATED: November 12, 2009        By:     /s/ Kyle Reardon
 9                                          KYLE REARDON
                                            Assistant U.S. Attorney
10
11
12   DATED: November 12, 2009        By:     /s/ Kyle Reardon for
                                            LINDSAY WESTON
13                                          Attorney for Defendant
14
15                                    ORDER

16        APPROVED AND SO ORDERED.

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19   DATED:   November 13, 2009

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